             Case 1:20-cr-00205-CCB Document 130 Filed 02/24/22 Page 1 of 5
                                                         U.S. Department of Justice
                                                         United States Attorney
                                                         District of Maryland

Mary Setzer                                              Suite 400                    DIRECT: 410-209-4803
Assistant United States Attorney                         36 S. Charles Street           MAIN: 410-209-4800
Mary.Setzer@usdoj.gov                                    Baltimore, MD 21201-3119        FAX: 410-962-3091




                                            February 24, 2022

VIA ECF

Honorable Catherine C. Blake
United States District Judge
District of Maryland
101 W. Lombard St.
Baltimore, MD 21201



           Re:        United States v. Oyekanmi Oworu,
                      Criminal No. CCB-20-205

Dear Judge Blake:

        On July 21, 2020, the Defendant was Indicted in the United States District Court for the
District of Maryland and charged with Count 1-Bank Fraud Conspiracy, in violation of 18 U.S.C.
§ 1349, and Count 5-Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A. On March 4,
2021, a Superseding Indictment was returned, including the same charges against th is Defendant.
On December 1, 2021, the Defendant entered a plea of Guilty to Counts 1 and 5 of the Superseding
Indictment.

       The Sentencing hearing in the above-captioned matter is currently scheduled for March 10,
2022, at 9:15 a.m. As calculated in the Presentence Investigation Report (“PSR”), the Defendant’s
offense level is 26 and his criminal history category is II, resulting in an advisory USSG sentencing
range of 70 to 87 months of incarceration.

        The Government requests a total sentence of 3 years (36 months) of incarceration, which
is significantly below the advisory U.S.S.G. range. In addition to a period of incarceration, the
Government requests a period of f our (4) years of supervised release, restitution in the amount of
$262,653.87, and a special assessment of $100.

       The Government submits that its requested sentence is sufficient, but no greater than
necessary, to satisfy the purposes set forth in 18 U.S.C. 3553(a).
         Case 1:20-cr-00205-CCB Document 130 Filed 02/24/22 Page 2 of 5

       I.      18 U.S.C. § 3553(a) Sentencing Factors

        The Government’s requested sentence of 36 months incarceration is supported by the
factors outlined in 18 U.S.C. § 3553(a). First, as to “the nature and circumstances of the offense
and the history and characteristics of the defendant;” under 18 U.S.C. § 3553(a)(1), the
Government submits that the offense conduct was serious, long-lasting, and pervasive.

        Beginning in at least February 2017 and continuing through his arrest in July 2020, was
involved in a complex scheme which defrauded numerous individuals, businesses, and banks. As
detailed in his plea agreement, the Defendant and his co-conspirators engaged a scheme to defraud
in which they fraudulently obtained checks made out to legitimate businesses, then fraudulently
registered businesses to obtain state business certificates in a name identical or similar to the name
of the legitimate businesses to which the fraudulently obtained checks were made payable.

        The Defendant used the Internal Revenue Service’s (IRS) Modernized Internet Employer
Identification Number (Mod EIN) in combination with the fraudulently obtained social security
numbers (SSNs) of individual victims to obtain an EIN for a business. The state business
certificates and EINs enabled the Defendant to then open bank accounts in the nam e of the shell
entities they registered for the purpose of depositing the fraudulently obtained checks, and
thereafter withdrawing the proceeds.

       This scheme to defraud compromised the identification information of over 50 individual
victims, and the Defendant and his co-conspirators established approximately 50 fraudulent/shell
businesses to further the scheme.

       During the course of the scheme to defraud, the Defendant communicated with co -
conspirators about the disposition of proceeds from the scheme, in cluding the money he would
personally receive for opening fraudulent bank accounts and depositing stolen checks. For
example, on May 2, 2019, the Defendant sent Babatunde Ajibawo a series of WhatsApp messages
concerning the disposition of the proceeds from the scheme. Ajibawo replied with the following
message: “According to Niyi he said the guy is expecting a little over 10k....beside the house is on
hold for deposit verification.....been told to call from 7am to the holding department.” The
Defendant responded by repeating the breakdown of the funds and asking Ajibawo to send $3,000
to him and the balance to another co-conspirator in Fayetteville, Georgia.

        Additionally, regarding the history and characteristics of the Defendant, the Government
notes that many defendants involved in other federal crimes have dire family life circumstances
that lead them to the path of crime. Defendant does not have that similar life that led to his crimes.
He had a comfortable residence, supportive family, and good education, which afforded him the
opportunity to obtain steady employment on numerous occasions, i.e., the defendant had sufficient
financial resources. See PSR ¶¶ 46-56, 67-74. On balance, the history and characteristics of
defendant make clear that he has lived a stable life with family support and had adequate education
and financial resources to live a law-abiding life.

       Second, under 18 U.S.C. § 3553(a)(2)(B), there is a need “to afford adequate deterrence to
criminal conduct.” A sanction needs to be imposed to send a signal to others who would
                                                  2
         Case 1:20-cr-00205-CCB Document 130 Filed 02/24/22 Page 3 of 5

contemplate engaging in bank fraud. A sentence of 3 years for such a long-lasting, several year
fraud scheme deters others.

        The “kinds of sentences available” under 18 U.S.C. § 3553(a)(3) also justifies the sentence
that the Government seeks. The maximum penalty for Count One is 30 years of incarceration.
Because the Defendant has also entered a guilty plea to Aggravated Identity Theft under 18 U.S.C.
§ 1028A, there is a mandatory sentence of twenty-four (24) months consecutive to a sentence on
any other count. The Government requests that the Court sentence the Defendant to twelve months
as to Count One, and twenty-four months consecutive to Count One on Count Five (the Aggravated
Identity Theft).

       Finally, co-defendant Babatunde Ajibawo was sentenced by this Court on December 8,
2021, after having pleaded guilty to Conspiracy to Commit Bank Fraud. Defendant Ajibawo
received a sentence of forty-eight (48) months incarceration, to be followed by four (4) years of
supervised release. The Court indicated on the record and in its statement of reasons that Ajibawo
received a variant sentence of 48 months because of the “severity of conditions of pretrial
confinement” and the “likely period of detention awaiting deportation.”

        Defendant Ajibawo admitted that he was a manager or supervisor of the criminal activity;
his overall U.S.S.G. called for a range of imprisonment of 70-87 months. Ajibawo was a criminal
history category I.

        While Defendant Oyekanmi Oworu was not a manager or supervisor of this scheme, he
has not been detained pre-trial and has not suffered the severe incarceration conditions due to
Covid-19 that Ajibawo had already suffered at the time of his Sentencing. Oworu will not be
deported after he serves his sentence and will not serve an additional period of confinement
awaiting deportation. Additionally, Oworu is a criminal history category II, not a criminal history
category I, like Ajibawo. Therefore, a sentence of 36 months for this Defendant will avoid
unwarranted sentence disparities among defendants with similar records who have been found
guilty of similar conduct, as called for by 18 U.S.C. § 3553(a)(6).

       II.     Advisory United States Sentencing Guidelines

        The Government agrees with the calculation of the United States Sentencing Guidelines
(U.S.S.G.) completed by the Probation Office and included in the Presentence Report, and submits
that the Defendant’s advisory guideline calculation is as follows:

       Base Offense Level:                           7    (§§ 2X1.1, 2B1.1)

       Adjustment for Loss Calculation:             +18 (§2B1.1(b)(1)(I), >$3.5 million < $9.5)

       Adjustment for Number of Victims:            +2    (§2B1.1(b)(2)(A), more than 10 victims)

       Adjustment for Sophisticated Means:          +2    (§2B1.1(b)(10)(C))

       Final Base Offense Level:                    =29
                                                3
         Case 1:20-cr-00205-CCB Document 130 Filed 02/24/22 Page 4 of 5



       Acceptance of Responsibility                  -3    (§ 3E1.1)

       Final Offense Level                           =26

        The Government has also carefully considered the defendant’s criminal history in
determining that a recommendation of 36 months is sufficient, but no greater than necessary, is
appropriate. It is the Government’s position that any argument that the Defendant’s minimal
criminal history should mitigate in favor of a sentence below this fails to recognize the severity of
the Defendant’s repeated and pervasive fraudulent activity that would have likely continued had
he not been arrested.

       III.    Victim Impact

        The Government has notified the victims about the sentencing hearing; some have
submitted victim impact statements, which were previously forwarded to the Court and will be
sent again to the Court and counsel in anticipation of the instant sentencing. It is unknown whether
other victims wish to address the Court at sentencing, and/or attend the sentencing hearing. Of
course, as victims of the offense, they are entitled to do any/all of the above. See, 18 U.S.C. §
3771. As soon as the Government is aware, we will advise the Court.

       In response to victim notifications, the Government has received dozens of phone calls
from victims, who have universally expressed that they are very upset by the conduct of the
Defendant and his co-conspirators and that following up to ensure their identities/businesses have
not been further compromised has been quite burdensome for them.

       IV.     Restitution Request

        Pursuant to 18 U.S.C. § 3663A and U.S.S.G. §5E1.1, restitution shall be ordered in this
case. As such, the United States respectfully requests that an Order of Restitution be entered, as
part of the Defendant’s sentence in this matter, in the total amount of $262,653.87, as further
delineated below.

       With respect to restitution, the plea agreement provides the following:

               The Defendant agrees to the entry of a restitution order for the full
               amount of the victims’ losses, which the parties stipulate is at least
               $756,175.30. The Defendant agrees that, pursuant to 18 U.S.C. §§
               3663 and 3663A and 3563(b)(2) and 3583(d), the Court may order
               restitution of the full amount of the actual, total loss caused by the
               offense conduct set forth in the factual stipulation. The total amount
               of restitution shall be due immediately and shall be ordered to be
               paid forthwith. Any payment schedule imposed by the Court
               establishes only a minimum obligation….


                                                 4
         Case 1:20-cr-00205-CCB Document 130 Filed 02/24/22 Page 5 of 5

ECF 112 at 17.

       The Statement of Facts attached to the plea agreement as Attachment A describes how
money was successfully withdrawn from various bank victims by the Defendant and his co -
conspirators, and that the Defendant and his co-conspirators split the proceeds of the money they
were able to withdraw.

        Following detailed investigation and inquiry of various financial institutions as to the losses
they sustained as a result of this fraud scheme, the Government requests restitution to be allocated
to specific bank victims as follows. Each of these banks have submitted a request for restitution
and documentation in support of this request, which in turn, have been provided to the Defendant
in discovery:

            •   Andrew’s Federal Credit Union - $13,054.92
            •   Citi Bank - $6,998.95
            •   Columbia Bank - $39,893.64
            •   Fulton Bank - $642.17
            •   FVC Bank - $74,482.22
            •   Heritage Bank - $25,380.35
            •   Homestreet Bank - $60,710.00
            •   PNC Bank - $29,960.86
            •   SECU - $10,306.37
            •   United Bank - $1,224.39

 The Government will provide contact information for the payment of restitution to these bank
victims to the Courtroom Deputy via a separate document.

       V.       Conclusion

        For the reasons set forth above, the government respectfully submits that 36 months
incarceration and 4 years of supervised release is a reasonable sentence, and is sufficient, but not
greater than necessary to comply with the sentencing factors set forth in 18 U.S.C. § 3553(a)(2).

                                                       Very truly yours,

                                                       Erek L. Barron
                                                       United States Attorney

                                                              /s/
                                                       Mary W. Setzer
                                                       Judson T. Mihok
                                                       Assistant United States Attorneys




                                                  5
